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RE: SJTC



  From : Matt Herrington <mattherrington@paulhastings.com>                                Thu, Sep 16, 2021 07:03 PM
Subject : RE: SJTC
     To : Corey 'Smith (TAX)' <corey.smith@usdoj.gov>, Peter B. Axelrod
          <peteraxelrod@paulhastings.com>
     Cc : Lee F. Langston (TAX) <Lee.F.Langston@usdoj.gov>, Christopher Magnani
          (TAX) <Christopher.Magnani@usdoj.gov>, Boris Bourget (TAX)
          <Boris.Bourget@usdoj.gov>

 Hi Corey:

 I think I have identified the rub, so to speak. I asked the wrong question of my Bermuda co-counsel before
 responding to your email back in January. I asked whether this particular document was filed under seal, while
 not being aware that in fact the entire court file that the pleading was lodged in was under seal. No doubt the
 government took its own Bermuda counsel on this issue, but in any event I wanted to clarify the record.

 Best,

 Matt.




                         Matt Herrington
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                         mattherrington@paulhastings.com | www.paulhastings.com



 From: Smith, Corey (TAX) <corey.smith@usdoj.gov>
 Sent: Thursday, September 16, 2021 11:09 AM
 To: Herrington, Matt <mattherrington@paulhastings.com>; Axelrod, Peter B. <peteraxelrod@paulhastings.com>
 Cc: Langston, Lee F. (TAX) <Lee.F.Langston@usdoj.gov>; Magnani, Christopher (TAX)
 <Christopher.Magnani@usdoj.gov>; Bourget, Boris (TAX) <Boris.Bourget@usdoj.gov>
 Subject: [EXT] SJTC

 Matt/Peter

 I want to bring to your attention actions by attorney Paul Rauser who claims to represent Tangarra. As you
 probably know, he filed an action to strike the name “Tangarra” from our indictment. In our opposition we attached
 the Tamine affidavit that you filed as an exhibit to the SJTC petition to join the Beddoe proceedings regarding Trust
 B. Rauser has claimed that the Tamine affidavit was sealed by the Court. I find no evidence of that fact. I have
 asked Paul Harshaw in Bermuda repeatedly for evidence, an Order, or Judgement indicating that the Tamine
 affidavit was sealed by the Court in Bermuda. None has been provided. There is no indication on the SJTC Petition
 or Tamine affidavit that it is sealed. The Tamine affidavit contains NONE of the protected information listed in Fed
 R. Crim. P. 49.1 requiring redaction or sealing. When you provided us with copies of this affidavit (See attached)
 there was no indication that it was sealed. Further, on Jan 12, 2021, I specifically asked Matt if these proceedings
 were sealed. Matt responded, “not sealed.”

 This morning Rauser contacted Judge Hanks chambers requesting emergency relief to seal the Tamine Affidavit
 based on his claim that it was sealed by the Court in Bermuda. We oppose. I have not provided Rauser copies of
 the emails attached hereto. I want to let you know that if the Court schedules a hearing in this regard, we will
 provide copies of these emails to the Court.

 Corey J. Smith
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